Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 1 of 43 Page ID
                                 #:83617
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 2 of 43 Page ID
                                 #:83618
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 3 of 43 Page ID
                                 #:83619
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 4 of 43 Page ID
                                 #:83620
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 5 of 43 Page ID
                                 #:83621
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 6 of 43 Page ID
                                 #:83622
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 7 of 43 Page ID
                                 #:83623
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 8 of 43 Page ID
                                 #:83624
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 9 of 43 Page ID
                                 #:83625
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 10 of 43 Page ID
                                  #:83626
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 11 of 43 Page ID
                                  #:83627
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 12 of 43 Page ID
                                  #:83628
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 13 of 43 Page ID
                                  #:83629
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 14 of 43 Page ID
                                  #:83630
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 15 of 43 Page ID
                                  #:83631
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 16 of 43 Page ID
                                  #:83632
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 17 of 43 Page ID
                                  #:83633
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 18 of 43 Page ID
                                  #:83634
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 19 of 43 Page ID
                                  #:83635
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 20 of 43 Page ID
                                  #:83636
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 21 of 43 Page ID
                                  #:83637
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 22 of 43 Page ID
                                  #:83638
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 23 of 43 Page ID
                                  #:83639
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 24 of 43 Page ID
                                  #:83640
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 25 of 43 Page ID
                                  #:83641
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 26 of 43 Page ID
                                  #:83642
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 27 of 43 Page ID
                                  #:83643
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 28 of 43 Page ID
                                  #:83644
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 29 of 43 Page ID
                                  #:83645
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 30 of 43 Page ID
                                  #:83646
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 31 of 43 Page ID
                                  #:83647
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 32 of 43 Page ID
                                  #:83648
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 33 of 43 Page ID
                                  #:83649
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 34 of 43 Page ID
                                  #:83650
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 35 of 43 Page ID
                                  #:83651
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 36 of 43 Page ID
                                  #:83652
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 37 of 43 Page ID
                                  #:83653
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 38 of 43 Page ID
                                  #:83654
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 39 of 43 Page ID
                                  #:83655
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 40 of 43 Page ID
                                  #:83656
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 41 of 43 Page ID
                                  #:83657
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 42 of 43 Page ID
                                  #:83658
Case 2:04-cv-09049-DOC-RNB Document 3848-8 Filed 05/28/08 Page 43 of 43 Page ID
                                  #:83659
